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Unsealing the Halderman report would
be Responsible Vulnerability Disclosure
Statement by Computer Security Experts, May 11, 2023
The report on security flaws in Dominion voting machines, written by Professors J. Alex
Halderman and Drew Springall in July 2021 and placed under seal by the Federal District
Court for the Northern District of Georgia, should be immediately unsealed by the Court
and be made public. It is widely recognized by computer security experts in both industry
and academia that keeping vulnerability details secret, past the time in which a vendor
could reasonably have patched them and indeed past the time in which the vendor has
patched them, harms the security of users.

Bugs in computer software can be exploitable vulnerabilities, meaning that hackers who
know about these bugs can exploit them to take unauthorized actions. When such bugs
persist without being fixed (“patched” in the language of computer security) and without
the distribution of software updates incorporating such fixes, then users of such software
suffer harms due to the insecure software. Today, it is uniformly recognized that keeping
vulnerabilities secret does not provide security. If someone can discover a vulnerability,
others can as well.

In the early decades of computer systems, vendors were very slow to patch systems. To
address this problem, a system of responsible disclosure was developed in the late 1990s
and early 2000s, and this system is now widely accepted by industry (both the vendors and
users of software), government agencies such as CISA, and by security researchers world-
wide.

Upon discovering a security flaw, a security researcher practicing responsible disclosure
will notify the maker (either directly or via one of the organizations that exists for this
purpose) of all the details needed to understand and reproduce the problem. The
researcher will inform the maker that after a set period (generally around 90 days) all the
details will be published.

The purpose of the (delayed) public disclosure is twofold:
   1. to incentivize software vendors to fix their bugs and distribute those fixes promptly
      (or to produce less buggy software in the first place);
   2. to inform consumers of software so that they may improve their own security, either
      by installing such fixes or by discontinuing the use of vulnerable software.

This process–early notification to vendors followed by public disclosure–is the industry
norm. Corporate CSOs (Chief Security Officers) who are consumers of commercial software
rely on public notification to secure their own businesses. Makers of software (at
sufficiently high level of professionalism) are well organized enough to act upon
vulnerabilities disclosed to them. Google’s “Project Zero” is a team of security researchers
that have released 1791 disclosures after a 90-day delay, and 6 disclosures on which they


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delayed release for not more than 216 days.1 An entire industry exists to assist companies
in paying cash bounties to independent researchers who responsibly disclose bugs and
vulnerabilities.2

Before responsible disclosure became the norm, vendors would ignore security flaws; before
(delayed) full disclosure of details became the norm, vendors would claim that the flaws
were merely “theoretical.”3 They would leave their systems vulnerable – sometimes taking
years to patch their software, or never patch their software – relying on the ignorance of
their customers.

Those who argue that publishing vulnerabilities enables bad people to do bad things, are
ignoring the fact that if one person can discover a flaw, so can others. This is why
responsible disclosure, including the follow-up of full disclosure, is so widely practiced and
accepted in the computer and software industry. In this particular case, the report in
question has been widely distributed with and without authorization.4 Bad actors
undoubtedly already have access to the report. There is further danger that it could leak to
the general public at any time. A leak close to November 2024 could be used as a political
tool to undermine confidence in the election.

We have not read Professor Halderman’s report, since it is still under seal, but (from all
descriptions of it) it is a classic example of a security-vulnerability report that should now
be released to the public. The report has been available to the vendor for over 500 days, so
there has been ample time to patch those vulnerabilities that can be patched. In fact,
Dominion claims to have fixed some vulnerabilities apparently related to the Halderman
report, in their Democracy Suite 5.17 product, according to their recent filing with the
EAC.5

Today, the customers of Dominion’s product—election administrators, public officials, and
voters—need full information about its security so they can make their own fully informed
judgments about how to run their elections. Citizens can ask their state election officials to
install Dominion’s update rather than leaving it on the shelf.




1
  h#ps://googleprojectzero.blogspot.com/p/vulnerability-disclosure-faq.html, accessed May 9, 2023.
2
  HackerOne https://hackerone.com/bug-bounty-programs (accessed May 9, 2023) links to hundreds of
such bug-bounty programs, and in many of these the terms of service permit the bug reporter to
unilaterally go public after a specified number of days.
3
  Schneier: Full Disclosure of Security Vulnerabilities a 'Damned Good Idea', by Bruce Schneier, in CSO
Online magazine, January 9, 2007. https://www.csoonline.com/article/2121803/schneier--full-disclosure-
of-security-vulnerabilities-a--damned-good-idea-.html or
https://www.schneier.com/essays/archives/2007/01/schneier_full_disclo.html
4
  In addition to the real possibility of independent discovery, it is also the case that dozens of people have
read the Halderman report (with authorization): legal teams from the Defendants in this case, legal teams
on both sides of the Dominion v. Fox News lawsuit, employees of US CISA and EAC; and MITRE got it
from Dominion without the Court’s authorization.
5
  https://www.eac.gov/sites/default/files/voting_system/files/
D-Suite%205.17%20Certificate%20and%20Scope%20SIGNED.pdf


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Since Professor Halderman wrote his report pursuant to the Court’s Protective Order, the
decision is not his to make: it is now up to the Court to practice responsible disclosure by
unsealing the report. We urge the Court to do so immediately.


Signed,

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